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                    Exhibit B
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              ISRAEL BARON
                                                                                    Statement
              11480 DONA DOROTEA DR.
                                                                                                Date
              STUDIO CITY CA 91604
                                                                                             12/1/2017




     To:
   XTRMX LLC
   9 Omarim St.
   8496500 Omer, Israel




                                                                              Amount Due                 Amount Enc.
                                                                              $99,899.59

  Date                                 Transaction                             Amount                      Balance

12/31/2016     Balance forward                                                                                        0.00
02/27/2017     INV #030117. Due 02/27/2017.                                         15,000.00                    15,000.00
03/05/2017     INV #030517. Due 03/05/2017.                                          3,500.00                    18,500.00
03/07/2017     PMT #Wire. APOALIM B M TEL-AVIV ISRAEL ORG:                         -14,982.00                     3,518.00
03/07/2017     Discount #Wire. APOALIM B M TEL-AVIV ISRAEL ORG:                        -18.00                     3,500.00
03/21/2017     PMT #Andy Bob NAB.                                                   -3,470.00                        30.00
03/21/2017     Discount #Andy Bob NAB.                                                 -30.00                         0.00
04/01/2017     INV #040117. Due 04/01/2017.                                         17,000.00                    17,000.00
04/04/2017     PMT                                                                 -16,970.00                        30.00
04/04/2017     Discount                                                                -30.00                         0.00
05/01/2017     INV #050117. Due 05/01/2017.                                         17,000.00                    17,000.00
05/08/2017     INV #050118. Due 05/08/2017.                                          1,112.78                    18,112.78
05/12/2017     PMT                                                                 -16,970.00                     1,142.78
05/12/2017     Discount                                                                -30.00                     1,112.78
06/01/2017     INV #060117. Due 06/01/2017.                                         16,000.00                    17,112.78
06/22/2017     PMT #Wire Transfer.                                                 -16,970.00                       142.78
06/22/2017     Discount #Wire Transfer.                                               -142.78                         0.00
07/01/2017     INV #070117. Due 07/01/2017.                                         16,000.00                    16,000.00
08/01/2017     INV #080117. Due 08/01/2017.                                         16,000.00                    32,000.00
08/03/2017     INV #080317. Due 08/03/2017.                                            240.00                    32,240.00
09/01/2017     INV #090117. Due 09/01/2017.                                         16,120.00                    48,360.00
09/30/2017     INV #FC093017. Due 10/10/2017. Finance Charge                         1,198.31                    49,558.31
10/01/2017     INV #100117. Due 10/01/2017.                                         16,120.00                    65,678.31
11/01/2017     INV #110117. Due 11/01/2017.                                         16,120.00                    81,798.31
11/01/2017     INV #FC 6. Due 11/01/2017. Finance Charge                             1,009.60                    82,807.91
12/01/2017     INV #120117. Due 12/01/2017.                                         16,120.00                    98,927.91
12/01/2017     INV #FC 9. Due 12/01/2017. Finance Charge                               971.68                    99,899.59




                     1-30 DAYS PAST     31-60 DAYS PAST     61-90 DAYS PAST   OVER 90 DAYS
 CURRENT                                                                                                  Amount Due
                           DUE                DUE                 DUE           PAST DUE

  17,091.68               17,129.60          1,198.31             16,120.00      48,360.00                 $99,899.59
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                    Exhibit C
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  Oran CEO - XTRMX board-meeting from 8.8.2017 emailed to Bob Andy and Israel

  From: Oran Gilad [mailto:oran.gilad@xtrmx.com]
  Sent: Thursday, August 10, 2017 1:16 PM
  To: Israel Baron <ibaron@senitype.com>
  Subject: XTRMX board meeting from 8.8.2017


  Following XTRMX board-meeting from 8.8.2017:

  Based on Israel's mail from 8.3.2017, the board had discussed the manners to manage the activities of
  the customers delivered by the US team in a fair manner.

  It was decided that XTRMX shall ex-gratia honor the success-fee commission agreement with Israel
  Baron, Bob Kisor & Andy Rosen, based on the February 25th email:



  Israel Baron's 12%
  Robert (Bob) Kisor: 7.5% (for the customers delivered by Bob)
  Andy Rosen: 7.5% (for the customers delivered by Andy)



  The above holds for sales of XTRMX xView to the companies stated below, and valid for two years from
  the sale’s date.

  May all parties will face success with whatever they do.



  List of companies where this agreement holds:

  Avid
  Adobe
  CineCert
  ColorTime
  Sohonet
  20th Centruy Fox
  Disney
  Amazon Studios
  Universal
  Viacom
  Paramount
  Warner Bros
  Sony Pictures
  EFilm/Deluxe
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  Lufthansa Systems
  Studio 100 Animations
  Omelet
  Azteca America
  RealNetworks
  EVS
  Nutmeg
  CBS
  Fotokem
  Netflix
  Microsoft Production Studios
  Brightcove
  DVS
  Comcast Cable
  STARZ Premium



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